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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §   Case No. 2:13-CR-1 – JRG-RSP
                                                   §
 LEONIDES LOAEZA-VASQUEZ (8)                       §
                                                   §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On June 25, 2013, this cause came before the undersigned United States Magistrate Judge

 for a plea of guilty to an information charging the defendant in Count 1 with a violation of 18

 U.S.C. ' 4, Misprision of a Felony. After conducting said proceeding in the form and manner

 prescribed by FED. R. CRIM. P. 11, the undersigned finds that:

        a.      the defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea in this cause by a United States

 Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

        b.      the defendant and the government have entered into a plea agreement which has

 been filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

        c.      the defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges, the maximum penalties, and the consequences of

 the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

 basis in fact containing each of the essential elements of the offense; and

        d.      the defendant understands each of the constitutional and statutory rights


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    enumerated in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

             IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

    Agreement and the Guilty Plea of the defendant and that LEONIDES LOAEZA-VASQUEZ
.
    should be finally adjudged guilty of that offense.

             A party=s failure to file written objections to the findings, conclusions and

    recommendations contained in this Report within 14 days after being served with a copy shall

    bar that party from de novo review by the district judge of those findings, conclusions and

    recommendations and, except on grounds of plain error, from appellate review of unobjected-to

    factual findings and legal conclusions accepted and adopted by the district court. FED. R. CIV. P.

    72(b)(2); see Douglass v. United Servs. Auto. Ass=n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en

    banc).
             SIGNED this 3rd day of January, 2012.
             SIGNED this 1st day of July, 2013.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE




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